






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00615-CV






In re North Forest Independent School District, et al.






ORIGINAL PROCEEDING FROM TRAVIS COUNTY




M E M O R A N D U M   O P I N I O N



		The petition for writ of mandamus is denied.  See Tex. R. App. P. 52.8(a).  The stay
of the record review hearing at the Texas Education Agency issued by this Court on October 2, 2008,
is lifted.



						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Waldrop and Henson

Filed:   October 16, 2008


